               Case 2:19-cv-01746-RAJ Document 28 Filed 05/12/20 Page 1 of 2




 1                                                            THE HONORABLE RICHARD JONES
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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
      APERTURE NET LLC,                              Case No. 2:19-cv-01746-RAJ-BAT
 9
             Plaintiff,                              UNOPPOSED MOTION TO EXTEND
10     vs.                                           DEADLINES ON OBJECTIONS TO
                                                     REPORT AND RECOMMENDATION ON
11    HTC AMERICA, INC.,                             MOTION TO DISMISS
12           Defendant.                              NOTE ON MOTION CALENDAR:
                                                     May 13, 2020
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             Defendant HTC America, Inc. respectfully requests that the Court extend the deadline for
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     HTC America Inc.’s objections to the Report and Recommendation Regarding Defendant’s
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     Motion to Dismiss (Dkt. 24), due on May 13, 2020 to May 27, 2020. This Court previously
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     granted the parties’ joint stipulation to extend this deadline to May 13, 2020. The parties are
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     discussing settlement and additional time before further action on this matter would assist with
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     settlement. This motion is unopposed by Plaintiff Aperture Net LLC.
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     Respectfully submitted,
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     MOTION TO EXTEND DEADLINES – 1
     Case No. 2:19-cv-01746-RAJ-BAT
               Case 2:19-cv-01746-RAJ Document 28 Filed 05/12/20 Page 2 of 2




 1   Dated May 12, 2020.
 2                                                  MASCHOFF BRENNAN
 3
                                                    By: /s/ Inge Larish
 4
                                                    Inge Larish (WSBA No. 34954)
 5                                                  MASCHOFF BRENNAN
                                                    GILMORE ISRAELSEN & WRIGHT PLLC
 6                                                  2211 Elliott Ave., Suite 200
 7                                                  Seattle, WA 98121
                                                    ilarish@mabr.com
 8                                                  Telephone: (206) 455-2907

 9                                                  ATTORNEYS FOR DEFENDANT,
                                                    HTC AMERICA, INC.
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11
                                     CERTIFICATE OF SERVICE
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            I hereby certify that on May 12, 2020, I caused a true and correct copy of this document
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     to be served on all counsel of record via ECF pursuant to local rules.
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15
     DATED this 12th day of May, 2020.                    By:     /s/ Inge Larish
16                                                                Inge Larish

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     MOTION TO EXTEND DEADLINES– 2
     Case No. 2:19-cv-01746-RAJ-BAT
